                Case 1:21-cv-09322-JPO Document 23 Filed 11/19/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                       :
RHC OPERATING LLC,,                                                    :
                                                                       :
                                                           Plaintiff, :
                             -against-                                 :   NOTICE OF APPEARANCE
                                                                       :
                                                                       :   No. 21-CV-9322 (JPO)
CITY OF NEW YORK, and BILL DE BLASIO,                                  :
in his official capacity as Mayor of New York                          :
City, and New York City Council Members—                               :
Adrienne E. Adams, Alicka Ampry-Samuel, Diana                          :
Ayala, Justin L. Brannan, Selvena N. Brooks-                           :
Powers, Fernando Cabrera, Margaret S. Chin,                            :
Robert E. Cornegy, Jr., Laurie A. Cumbo, Ruben                         :
Diaz, Sr., Darma V. Diaz, Eric Dinowitz, Daniel                        :
Dromm, Mathieu Eugene, Oswald Feliz, James F.                          :
Gennaro, Vanessa L. Gibson, Mark Gjonaj, Barry                         :
S. Grodenchik, Robert F. Holden, Corey D.                              :
Johnson, Ben Kallos, Peter A. Koo, Karen                               :
Koslowitz, Brad S. Lander, Stephen T. Levin,                           :
Alan N. Maisel, Carlos Menchaca, Francisco P.                          :
Moya, Keith Powers, Kevin C. Riley, Carlina                            :
Rivera, Ydanis A. Rodriguez, Deborah L. Rose,                          :
Helen K. Rosenthal, Rafael Salamanca, Jr., Mark                        :
Treyger, Eric A. Ulrich, Paul A. Vallone, and                          :
James G. Van Bramer,                                                   :
                                                       Defendants. :
-----------------------------------------------------------------------X

      To: The clerk of court and all parties of record

              PLEASE TAKE NOTICE that I, Melanie V. Sadok, Assistant Corporation Counsel, am

     admitted to practice in this court, and I appear in the above-captioned action as counsel for

     Defendants, City of New York, Bill de Blasio, in his official capacity as Mayor of New York

     City, and New York City Council Members—Adrienne E. Adams, Alicka Ampry-Samuel, Diana

     Ayala, Justin L. Brannan, Selvena N. Brooks-Powers, Fernando Cabrera, Margaret S. Chin,

     Robert E. Cornegy, Jr., Laurie A. Cumbo, Ruben Diaz, Sr., Darma V. Diaz, Eric Dinowitz,
         Case 1:21-cv-09322-JPO Document 23 Filed 11/19/21 Page 2 of 2




Daniel Dromm, Mathieu Eugene, Oswald Feliz, James F. Gennaro, Vanessa L. Gibson, Mark

Gjonaj, Barry S. Grodenchik, Robert F. Holden, Corey D. Johnson, Ben Kallos, Peter A. Koo,

Karen Koslowitz, Brad S. Lander, Stephen T. Levin, Alan N. Maisel, Carlos Menchaca,

Francisco P. Moya, Keith Powers, Kevin C. Riley, Carlina Rivera, Ydanis A. Rodriguez,

Deborah L. Rose, Helen K. Rosenthal, Rafael Salamanca, Jr., Mark Treyger, Eric A. Ulrich, Paul

A. Vallone, and James G. Van Bramer. I request to receive notice of all docket events via the

Electronic Case Filing system.

Dated: New York, New York
November 19, 2021

                                           GEORGIA M. PESTANA
                                           Corporation Counsel of the City of New York
                                           Attorney for Defendants
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                                           New York, New York 10007
                                           Tel: 212-356-4371
                                           msadok@law.nyc.gov


                                           By: __________________
                                           Melanie V. Sadok




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